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                            U N ITE D STA TES D ISTR ICT CO UR T
                       FO R T H E SO U TH ERN D ISTR IC T O F FLO R ID A
                                  Case N o.1:14-cv-23933-PCH

  JOHN D OE #4,JOHN D OE #5,
  JOHN D OE #6,and JO HN D OE #7,

         Plaintiffs,



  M IA M I-DA D E CO UN TY ,FLOR ID A ,

         Defendant.


                                 O R DE R SE TTIN G H EA R IN G

         This m atter is before the Courtafter a telephonic status conference regarding the Court's
  efficientrulingontheissuesraisedinM iami-DadeCounty'sM otionforSummaryJudgment(D.E.
  1221,heldon September13,2018.Atthehearing,itwasdeterminedthattheCourtwouldaim to
  resolve the issues raised in the M otion for Sum m ary Judgm ent at a bench trial.Thus,per the
  discussion atthetelephonicconference,theCourthereby setsahearingto discussthebench trial's
  form atand issuesto beresolved.Therefore,itis
         O R D ERED A N D A DJU DG ED that a hearing on M iam i-D ade County's M otion for
  Summary Judgment (D.E.NO. 122) and the upcoming bench trialwillbe held on Friday.
  Septem ber 21.2018.at9:30 a.m .before the Honorable PaulC.Huck,United States District
  Judge,400 N orth M iam iAvenue,13th Floor,R oom 13-2,M iam i,Florida 33128.
         Counselfrom outoftow n m ay callinto the hearing instead ofappearing in person.C ounsel
  isinstructed to take the followinz stepsshortlv before the scheduled conference tim e so that
  the telephonic conference m av beein prom ptlv:
         1.      C allthe Toll-Free N um ber:1-888-684-8852.
         2.      Enter the access code,4825076.follow ed by the # six.
                                                              -      n.
                                                                     --



         3.      E nter the securitv code,332010468.follow ed bv the # sien.
         4.      State vour nam e and enter the conference.
   Fortechnicalassistance,please call800-526-2655.
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        DO N E and O R D ER ED in Cham bers,in M iam i,Florida,on Septem ber 13,2018.




                                                 PaulC.Huck
                                                 United StatesDistrictJudge
  Copiesfurnished to:
  A 11counselofrecord.
